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            EXHIBIT 8
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     Video promoted by John Stossel for Earth Day
     relies on incorrect and misleading claims about
     climate change
     Analysis of "Are we doomed?"
     Published in Stossel TV (https://climatefeedback.org/outlet/stossel-tv/), by David Legates
     (https://climatefeedback.org/authors/david-legates/), John Stossel (https://climatefeedback.org/authors/john-
     stossel/), Patrick Michaels (https://climatefeedback.org/authors/patrick-michaels/) on 17 Apr. 2021

     Seven scientists analysed the article and estimate its overall scienti c credibility to be ‘very low’. 0?
     A majority of reviewers tagged the article as: Flawed reasoning (https://climatefeedback.org/article-tag/ awed-
     reasoning/), Inaccurate (https://climatefeedback.org/article-tag/inaccurate/), Misleading
     (https://climatefeedback.org/article-tag/misleading/).

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            SUMMARY

     The video was published by John Stossel on YouTube in November 2019 and reposted on Facebook in April 2021.
     The video comments on statements made about climate change by environmental activists and politicians that
     can be misleading. However, speakers in the video rely on several inaccurate claims and use imprecise language
     that misleads viewers about the scientific understanding of climate change, according to scientists who reviewed
     the video.
     For instance, the claim that sea levels have been rising for 20,000 years, made by David Legates, a Professor and
     former assistant secretary of commerce for NOAA nominated by the Trump administration, is imprecise and
     misleading, as it implies sea levels have continued rising since then and current sea level rise is just a continuation
     of past natural fluctuations. But the causes of the global warming event that explains sea level rise at the end of
     the last ice age 20,000 years ago are different from those that explain sea level rise now. In the last 6,000 years,
     global sea level was stable (see figure 1 below). Ocean volumes remained nearly constant until an increase in the
     rate of sea-level rise 100–150 years ago, with no oscillations in global sea level exceeding ∼15–20 cm from 6,000
     to 150 years before present[1].


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     (https://climatefeedback.org/wp-content/uploads/2016/02/nclimate.png)

     Figure 1—Long-term global mean sea-level change for the past 20,000 years (black line) based on paleo sea level
     records and projections for the next 10,000 years for four emission scenarios. From this Climate Feedback review
     (https://climatefeedback.org/evaluation/sea-level-rise-global-warming-climate-change/).
     In the video, Patrick Michaels (https://climatefeedback.org/authors/patrick-michaels/), a former professor of
     environmental sciences at the University of Virginia, claims that “hurricanes and other storms” are not “getting
     worse” and that “there is no relationship between hurricane activity and the surface temperature of the planet”. But
     what does science tell us about how global warming might affect hurricanes? Research shows that climate
     scientists don’t necessarily expect an increase in the frequency of all hurricanes with global warming, but instead
     an increase in hurricane risk. Specifically, scientists expect that “sea level rise accompanying the warming will lead
     to higher storm inundation levels” and that the global proportion of hurricanes that reach very intense (category 4–
     5) levels will increase, as described in Knutson et al. (2020)[2,3]. Scientists also expect increased precipitation rates in
     hurricanes[4].




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     Kerry Emanuel, Professor at the Massachusetts Institute of Technology who has extensively studied hurricanes
     intensity, indicates that indeed “the most up-to-date research…demonstrates an increase in the proportion of
     hurricanes that become major hurricanes (Category 3-5) globally”[3] (read his full comment below). In the video,
     Michaels misleads viewers by cherry-picking a single measure of hurricane activity and ignoring the broader
     corpus of scientific research that demonstrates the expected increase in risks related to hurricanes.

     Another claim Stossel makes in the video is that CO2 doesn’t harm or threaten the food supply because it helps
     plants grow faster and that CO2 “helps feed the world”. This claim also relies on cherry-picking some effects of CO2
     on plants, while completely ignoring others. Climate Feedback previously evaluated this claim and found it to be
     misleading (see here (https://climatefeedback.org/claimreview/co2-can-increase-plant-growth-in-greenhouses-
     while-also-negatively-affecting-ecosystems-and-human-societies-mike-adams-natural-news/) and here
     (https://climatefeedback.org/claimreview/cnn-interview-william-happer-misleads-impact-rising-carbon-dioxide-
     plant-life/)). Like other nutrients, CO2 is necessary for plant growth and increased levels of atmospheric CO2 have
     led to vegetative greening in some regions of the world. However, to assess the overall impact of human CO2
     emissions on agriculture, one cannot solely consider the effects of increased atmospheric CO2 concentrations on
     plant growth. Instead, one must evaluate all of the effects of increased CO2 and climate change on plants, since the
     Earth is not a controlled greenhouse environment.

     As explained below by Sara Vicca, a postdoctoral research fellow at the University of Antwerp, elevated CO2 levels
     warm the planet, thereby generating a cascade of effects, including altered precipitation patterns and more
     frequent and intense extreme weather events such as heatwaves and droughts. Climate change can also increase
     heat stress, water stress, and pest prevalence, which can reduce crop yields[5]. Thus all these effects of climate
     change threaten global water and food supplies[5-8].

     As Patrick Brown, assistant professor at San Jose State University, and Kristie Ebi, professor at the University of
     Washington, describe below, higher CO2 concentrations also reduce the nutrient density of major cereal crops[5],
     which runs counter to the simplistic view presented in Stossel’s video that CO2 “helps feed the world” (read on for
     details).

     In the video, Stossel complains that scientists don’t want to debate with him; however, this is not how scientific
     debate works. Scientific debate doesn’t primarily happen on YouTube videos or social media platforms, or through
     discussions between scientists and news commentators. Instead, researchers who engage in a scientific debate
     traditionally do so by submitting articles to academic journals. These articles present the evidence and data they
     have gathered to support a particular claim. These claims must stand up to scrutiny by other scientists, who
     evaluate the new evidence in the context of previous studies and can attempt to replicate the work or confirm or
     reject the results by other means. In contrast, except for rare exceptions, climate contrarian bloggers don’t conduct
     their own research or submit properly written accounts of their findings to academic journals, eschewing the peer
     review process.




       REVIEWERS’ OVERALL FEEDBACK
     These comments are the overall assessment of scientists on the article, they are substantiated by their knowledge in the field and by
     the content of the analysis in the annotations on the article.

     Andrew King (http://andrewdking.weebly.com/), Research fellow, University of Melbourne:
     This video is misleading in so many ways it’s hard to know where to begin. For a start there’s a repeated assertion
     that climate “alarmists” won’t enter debate on climate change, but there are many examples of renowned climate
     scientists such as Gavin Schmidt, Michael Mann and David Karoly entering into debates with climate change
     denialists. Many scientists have found such debates to be unhelpful as they give the false impression of balance



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     despite there being broad consensus among climate scientists that human greenhouse gas emissions have
     caused at least 1°C of global warming to date. In these debates, climate denialists recycle the same flawed
     arguments even though they have been debunked many times (see here
     (https://skepticalscience.com/argument.php)).

     On the issue of being able to adapt to 5°C of global warming, while humans are resilient to some change, we know
     that, especially in the developing world, capacity to adapt to climate change is limited. A slew of recent studies has
     demonstrated that even at 2°C of global warming the impacts of climate change would be pervasive and
     devastating. Many studies show that severe heatwaves, which already kill many thousands of people in the current
     climate, would become much more deadly even with relatively little additional global warming, let alone 5°C of
     warming (for example, Saeed et al. (2021)[9].

     In order to adapt to global warming humans require that the planet’s ecosystems also survive, but with only
     another 1°C of global warming the vast majority of the world’s coral reefs would be damaged beyond
     recognition[10]. Severe heat-induced bleaching and ocean acidification, both of which are linked to human-induced
     climate change, are damaging the world’s reefs already[11]. Hundreds of millions of people globally rely on there
     being healthy coral reefs[12], but even beyond 1.5°C global warming the survival of the world’s reefs is at threat.
     There are many, many other ways in which going beyond another 1°C of global warming would be extremely
     damaging, including extreme and continued sea level rise[13], and the increased possibility of triggering major
     disruptions to the Earth system with irreversible consequences (for example, this Nature article
     (https://www.nature.com/articles/d41586-019-03595-0)). The notion that society could adapt to, or even thrive, at
     5°C of global warming is fanciful.

     Misinformation that masks the threats that global climate change poses has the potential to slow down our efforts
     to tackle this problem. It is vital that society is guided by the science and acts to reduce greenhouse gas emissions
     so future generations don’t pay the price.



     Timothy Osborn (https://www.uea.ac.uk/environmental-sciences/people/profile/t-osborn), Professor,
     University of East Anglia, and Director of Research, Climatic Research Unit:
     This video has little scientific credibility. It builds up false strawmen about climate change and then pretends to
     demolish them with flawed reasoning and cherry-picked statements. Here are some examples:

     1. The suggestion that the evidence for climate change is not being debated is false — evidence is continually
     being weighed up during the research process and in scientific publications and then in scientific assessment
     processes such as the IPCC.

     2. The claim that sea levels have been rising for 20,000 years is false. It is likely that sea levels fell slightly over the
     last 2,000 years until the last century when they began rising and have recently accelerated. See Barnett et al.
     (2019)[14].

     3. The claim that because Netherlands have reduced coastal flooding means that the world could simply adapt to
     a global temperature rise of 5 degrees Celsius has no support at all. There is ample evidence for the colossal
     impacts that such an unprecedented rate of climate change would have and the evidence is that it would be
     overwhelmingly damaging. The evidence is summarised in the IPCC’s ‘reasons for concern’[15].



     Victor Venema (http://www2.meteo.uni-bonn.de/mitarbeiter/venema/), Scientist, University of Bonn,
     Germany:
     The video is mostly innuendo, tossed together with incorrect and misleading claims and impossible expectations.




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     A clear example of a misleading statement is describing the figure below as “the water has been rising for
     approximately 20,000 years”, while until recently the sea level in the age we built our infrastructure was remarkably
     stable (see figure 2).


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     (https://climatefeedback.org/wp-content/uploads/2021/04/800px-Post-Glacial_Sea_Level.png)

     Figure 2—Created by Robert A. Rohde from published data and incorporated into the Global Warming Art project.


       ANNOTATIONS

     The statements quoted below are from the video; comments are from the reviewers (and are lightly edited for clarity).



             Claim: “Even if the planet warmed by 5 degrees, humans can adjust. People in Holland did… Are
             you telling me that people in Miami are so dumb that they are just going to sit there and
             drown?” … “the water has been rising for approximately 20,000 years and probably will continue”
             “but we can adapt, like Holland has.”


     Benjamin Horton (http://www.earthobservatory.sg/research-group/sea-level-research), Professor, Earth
     Observatory of Singapore:
     [Comment from a previous evaluation (https://climatefeedback.org/report-heartland-institute-sent-to-influence-
     us-teachers-on-climate-change-earns-an-f-from-scientists/) of a similar claim]
     False. Comparison of long tide gauge records and multi-centennial to millennial scale sea-level reconstructions
     from the same region indicates that the rate of rise during the instrumental period (since ~1850 CE) was
     significantly faster than it was during the late Holocene (the 4000–2000 years prior to ~1850 CE). The data
     demonstrate that an acceleration in the rate of sea-level rise occurred[16].

     Patrick Brown (http://patricktbrown.org), Assistant Professor, San Jose State University:
     From approximately 20,000 years ago to approximately 4,000 years ago, there was a very large rise in sea level
     (approximately 125 meters or 410 feet) that occurred as the Earth emerged from the last glacial maximum (due to




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     orbital changes). The fact that this occurred is largely irrelevant to the question of how much disruption multi-
     meter sea level rise (See figure below from Oppenheimer et al., 2019)[17] over the next several centuries will inflict
     on our current society.


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     (https://climatefeedback.org/wp-content/uploads/2021/04/GMSL.jpg)

     It is of course the case that various adaptation options are on the table (see figure below from Oppenheimer et al.,
     2019)[17].


      (a) No response


       SLR .



      (c) Protection                                                                (d) Retreat


       SLR



      (e) Accommodation                                                             mEcosystem-based adaptation

       SLR .                                                                            SLR


     (https://climatefeedback.org/wp-content/uploads/2021/04/SLR-4.3.jpg)

     The appropriate question is whether it costs more (in the broadest sense of the word cost) to reduce CO2 emissions
     or by continuing to emit indefinitely and choosing only adaptation. There are sufficient fossil fuels available to
     completely melt the Greenland and Antarctica ice sheets and raise global sea levels approximately 60 meters or
     200 feet[18]. This would represent an astronomical cost much larger than the cost to transition to a near-zero
     emissions energy system[19]. Thus, relying 100% on adaptation fails the cost-benefit test in the long term.


               Claim: “the alarmists say hurricanes and other storms are getting worse. No they aren’t. You can
               take a look at all the hurricanes around the planet, we can see them since 1970 thanks to global
               satellite coverage and we can measure their power and we can add up their power. And there
               is no significant increase whatsoever. There is no relationship between hurricane activity and
               the surface temperature of the planet.”


     Kerry Emanuel (http://eaps4.mit.edu/faculty/Emanuel/), Professor of Atmospheric Science, MIT:
     The most up-to-date research published in the Proceedings of the National Academy of Sciences demonstrates
     an increase in the proportion of hurricanes that become major hurricanes (Category 3-5) globally, supporting



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     theoretical predictions that date back to 1987 (see figure below)[3].

     As explained in a previous review (https://climatefeedback.org/evaluation/breitbart-article-makes-numerous-
     false-claims-about-the-impacts-of-climate-change-based-on-global-warming-policy-foundation-post-
     delingpole-goklany/), the latest consensus papers published in 2019 by Knutson et al. show a strong consensus
     that tropical cyclones will become more intense (but not necessarily more frequent) as the climate warms[2]. There
     is also a unanimous consensus that tropical cyclones will produce more rain, and in places with sufficient rain
     measurements, there is strong evidence for heavier rain events[2].




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     content/uploads/2021/04/HurricaneFrequency.jpg)

     Figure 3—The proportion of major hurricane intensities to all hurricane intensities globally from 1979-2017. Data is
     binned into 3-year periods. The proportion of global major hurricanes increased by 25% over the 39-year time
     period analyzed. From Kossin et al. (2020)[4].

     Patrick Brown (http://patricktbrown.org), Assistant Professor, San Jose State University:
     While there are no substantial trends in the global frequency of total hurricanes, major hurricanes or accumulated
     cyclone energy over the past few decades[20], it would be premature to say that there is no relationship between
     global mean surface temperature and global hurricane activity (broadly defined). For instance, know that there is a
     stronger relationship between surface temperature and hurricane rain rates than there is between surface
     temperature and hurricane wind speeds.

     The IPCC 2019 summarizes hurricane (or tropical cyclone, TC) projections going forward in the following paragraph:




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         “Tropical cyclones (TCs) projections for the late 21st century are summarised as follows: 1) there is
         medium confidence that the proportion of TCs that reach Category 4-5 levels will increase, that the
         average intensity of TCs will increase (by roughly 1-10%, assuming a 2°C global temperature rise),
         and that average TCs precipitation rates (for a given storm) will increase by at least 7% per degree
         Celsius of sea surface temperature warming, owing to higher atmospheric water vapour content, 2)
         there is low confidence in how global TC frequency will change, although most modelling studies
         project some decrease in global TC frequency and 3) sea level rise will lead to higher storm surge
         levels for the TCs that do occur, assuming all other factors are unchanged (very high
         confidence).”[21]



            Claim: ”The Obama administration’s model projects that the amount of global warming that
            would be saved if we were going to go to zero emissions tomorrow (which would put us back
            to the stone age) would be 0.14°C. So no real effect on the climate.”


     Patrick Brown (http://patricktbrown.org), Assistant Professor, San Jose State University:
     This is a number corresponding to the United States acting in isolation. The United States currently represents
     about 14% of annual new CO2 emissions. So of course, eliminating only that portion of emissions will not solve the
     problem.
     However, if all the governments in the world were to act in coordination to bring emissions down to near zero, then
     global temperatures will stop increasing. The amount of global warming avoided from going to zero emissions
     globally (compared to burning all fossil fuels) is closer to 8 degrees Celsius which equates to approximately 22
     degrees Fahrenheit over land. So global programs to limit emissions make an enormous difference.

     This is exactly why this process is mediated through entities like the United Nations – because it is a collective
     action problem that requires international cooperation.


            Claim: “The idea of carbon dioxide being pollution that just does harm and threatens the food
            supply is a myth. If you are really concerned about the plants, more carbon dioxide makes
            them not just grow faster but also makes them more water efficient. CO2 is a greenhouse gas
            but it also helps feed the world.”


     Sara Vicca (https://www.uantwerpen.be/en/staff/sara-vicca/), Postdoctoral research fellow, University of
     Antwerp:
     The claim is misleading. Plants need CO2 to grow and they often grow better when the CO2 concentration
     increases. However, this fact is often abused to claim that increasing CO2 concentrations is mainly positive, while it
     also has several adverse effects. Increasing CO2 causes ocean acidification, which negatively affects marine life and
     threatens to disrupt the marine food web. And of course elevated CO2 warms the planet, thereby generating a
     cascade of effects from melting of glaciers and sea level rise to altered precipitation patterns and increasing
     frequency and intensity of extreme weather events such as heatwaves and droughts. These in turn threaten water
     and food supplies, and as climate change progresses, this is also likely to undo much of the beneficial effect that
     CO2 has on plant growth[5-8].




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     Patrick Brown (http://patricktbrown.org), Assistant Professor, San Jose State University:
     It is true that increases in atmospheric CO2 make photosynthesis more e cient and have resulted in ‘greening’
     trends observable from space. See, for example, the IPCC statement below[7].

          “Globally, greening trends have increased over the last 2-3 decades by 22-33%, particularly over
          China, India, many parts of Europe, central North America, southeast Brazil and southeast Australia
          (high con dence). This results from a combination of direct and indirect factors (i.e. CO2, fertilisation,
          extended growing season, nitrogen deposition […])”


     However, this CO2 fertilization e ect is just one of a myriad of in uences on crop productivity and quality. Global
     crop models take into account many potential changes (including the fertilization e ect from CO2) and tend to
     indicate that the net e ect of increased CO2 (including its climate a ects) will cause yields to decrease[5]:

          “At the global scale, Iizumi et al. (2018) used a counterfactual analysis and found that climate
          change between 1981 and 2010 has decreased global mean yields of maize, wheat, and soybeans
          by 4.1, 1.8 and 4.5%, respectively, relative to preindustrial climate, even when CO2 fertilisation and
          agronomix adjustments are considered.”[22]


     Also, increased atmospheric CO2 tends to decrease the nutritional quality of crops[5,22].

      Food .security will be increa&ingly afftttW by projected fu ture climate change (/iigh. t(Jnjidtntt), Actos..s Shattd Socio•
      economic Pathways (SSPs) I, 2, and 3, global crop and economic models projected a l-29X cereal price increase in 20.50 due
      to climate change {RCP 6.0), which would impact consumers globally through higher food prices: regional effects will vary
      U,igh «Jt1fidtntt). Low•incomc consu1ners are pattirulatly at risk, with models projec:tin_g increases or 1- l83 million
      additional people at risk of hunger acrou the SSPs comp.1.red 10 a no dim.ate change scenario ()u'gh. confid~n«). While
      increased CO2 is projected 10 be beneficial for crop productivity at lower temperature increases~it is projected to lower
      nutri,iooal quality (high c,mfiiknu) (e.g.. wheat grown al 546-586 pp,n CO2 bas 5.9- 12.'lX less protein, 3.7-6.Sl/ less zinc, and
      5.2-7.SX less iron). Distributions o( pests and diseases will change, afTccting production negatively in many rcgions (l,;gh
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      conjidn1ce), (5.2.3, 5.2.4)
     (https://climatefeedback.org/wp-content/uploads/2021/04/pasted-image-0.png)

     Kristie Ebi (http://deohs.washington.edu/faculty/ebi_kristie), Professor, University of Washington:
     Higher CO2 concentrations reduce the nutrient density of major cereal crops, including wheat and rice. At CO2
     concentrations expected later this century, protein declines about 10%, micronutrients about 5%, and B-vitamins
     about 30%[23]. This matters because there are more than 2 billion people worldwide with micronutrient de ciencies
     (Micronutrient De ciency – Our World in Data (https://ourworldindata.org/micronutrient-
     de ciency#:~:text=The%20World%20Health%20Organization%20%28WHO%29%20estimate%20that%20more,in%20inter
     This is signi cantly higher than the numbers of people who are food insecure. Estimates of the numbers of people
     potentially a ected are in the hundreds of millions.

     [The idea that increased CO2 so far is helping feed the world is an exaggeration as explained by Professor Philip
     Robertson in a previous review (https://climatefeedback.org/evaluation/the-phony-war-against-co2-the-wall-
     street-journal-rodney-nichols-harrison-schmitt/):]
     G Philip Robertson (http://www.kbs.msu.edu/people/faculty/robertson), Professor, Michigan State
     University:
     In general, CO2 has had a positive e ect on crop growth, but it’s impossible to separate historical e ects from the
     greater e ects of genetics and nitrogen and other inputs. However, it’s generally considered to be a fraction of
     those. We know better future e ects because we have CO2 fertilization experiments in the eld comparing present



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     to future CO2 levels. Those experiments suggest that corn may have about a 1% gain [because of increased CO2]
     and soybeans 3-4 times that. However, these gains will almost certainly be offset by yield declines associated with
     the temperature increases caused by elevated CO2, which are well known.

     Historically, it’s worth noting that we had elevated CO2 long before we had the green revolution, and crop yields
     didn’t increase much until the green revolution. You can see this in graphs of average US corn yields from 1900.

                                                             U.S. Average Com Grain Yields, 1863-2002


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              1860             1880                  1900               19~       1940            1960          1980
                                                                                 Year


     (https://climatefeedback.org/wp-content/uploads/2016/11/CornYieldGraphLG.gif)

     Source: University of Nebraska-Lincoln (http://passel.unl.edu/pages/informationmodule.php?
     idinformationmodule=1075412493&topicorder=7&maxto=12&minto=1)


               Claim: “It is not the case that we “have twelve years to act”



     Patrick Brown (http://patricktbrown.org), Assistant Professor, San Jose State University:
     I agree with the sentiment that there is very weak evidence that crossing 1.5°C represents some unique tipping
     point into catastrophe.

     This claim is made in regards to a 2018 Intergovernmental Panel on Climate Change report[24]. That report was on
     the impacts associated with global warming of 1.5°C (2.7°F) above preindustrial levels as well as the technical
     feasibility of limiting global warming to such a level. In 2018, the year 2030 was 12 years away and 2030 was
     deemed the earliest year in which the 1.5°C threshold could be crossed.

     The media coverage of the report did often portray it as saying we have 12 years (until 2030) to act on climate else
     catastrophe would ensue but the report did not actually make such claims.

     The report was not tasked with defining a level of global warming which might be considered to be catastrophic (or
     any other alarming adjective). Rather, the report was tasked with evaluating the impacts of global warming of 1.5°C
     (2.7°F) above preindustrial levels, and comparing these to the impacts associated with 2.0°C (3.6°F) above
     preindustrial levels as well as evaluating the changes to global energy systems that would be necessary in order
     to limit global warming to 1.5°C.




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     To summarize, the IPCC’s literature review found that impacts of global warming at 2.0°C are worse than at 1.5°C[24].
     There was no claim by the IPCC that we have 12 years to avoid catastrophe. Therefore, I do not take issue with the
     Facebook video portraying this framing as a myth.



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